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IN THE UNITED STATES DISTRICT COURTFOR THE DISTRICT OF COLUMBIA

                                                  ) Criminal No. 1:22-cr-00015-APM
   UNITED STATES OF AMERICA,                      )
                                                  )
                        v.                        )
                                                  )
   THOMAS CALDWELL,                               )
                                                  )
   And                                            )
   ____________________________________           ) Criminal No. 1:21-cr-00028-APM
   UNITED STATES OF AMERICA,                      )
                                                  )
                        v.                        )
                                                  )
   CONNIE MEGGS,                                  )
                                                  )
                    Defendant


                  ERRATA, DEFENDANTS’ NOTICE OF CORRECTION

        COMES NOW Defendants Connie Meggs and Thomas Caldwell, jointly by undersigned

 counsel, hereby set forth that in its Reply it inadvertently made clerical errors, which it hereby

 corrects:

        See pp. 1, 2, 5, 20 and inadvertently omitted attached Exhibit A for the Reply.

        See attached copy of Reply, with Ex. A, as Exhibit One Hereto.


                                      Respectfully submitted,

                                      By Counsel:

                                             /s/ David W. Fischer
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And
                                                   /s/ Juli Z. Haller
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                                           Counsel for Connie Meggs


                               Certificate of Electronic Service

I hereby certify that on May 13, 2022 I electronically filed the foregoing with the Clerk of Court
using the CM/ECF System, with consequent service on all parties of record.


                                             /s/ David W. Fischer
        And

                                     /s/ Juli Z. Haller
                                     Juli Z. Haller, DC 466921
